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=" Central District of California ORI Gi N [AL

Docket No.
UNITED STATES OF AMERICA vs. CR- 00-1220-SVW

 

  
   
 
  

XXX-XX-XXXX: XXX-XX-XXXX UW.

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Defendant Glenn Owens

T/N Owens, Glenn Irving

Owens, Glenn Ervin; Owens, Glenn Irvi
akas Owens, George Jr., Kenney, Keith; Ken
Keith; Owens, Trayvon; “Boo”

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& RTs
Residence San Bernardino County Jail katte udeas! 1713 E. Killen Place
Address Booking # 0101300554 Compton, California 90221

 

 

 

JUDGMENT AND PROBATION/COMMITMENT ORDER

 

 

MONTH DAY YEAR

 

 

 

 

 

in the presence of the attorney for the government, the defendant appeared in person on this date. | May 7, 2001
WITH David Reed, apptd.
COUNSEL Been
(Name of Counsel)
PLEA x GUILTY, and the court being satisfied that there is a factual basis for the NOLO NOT
plea. CONTENDRE GUILTY
FINDING There being a finding/verdict | GUILTY, defendant has been convicted as charged of the offense(s) of:
of
Conspiracy to Distribute Cocaine base in violation of 21 USC 846 as charged in Count 1 of the Indictment and
Distribution of Cocaine Base in violation of 21 USC 841(a)(1} as charged in Count 3 of the Indictment.
JUDGMENT AND] = The Court asked whether defendant had a nything to say why 1udg ment should not be pronounced, Because no sufficient cause to the contrary was shown, or appeared
ROB to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that’ Pursuant to the Sentancing Reform Act of 1984, itis the judgment of

 

COMMITMENT the Court that the defendant is hereby committed to ihe custody of the Bureau of Prisons to be imprisoned for a term of.
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130 months. This terms consists of 130 months currently on each of Counts 1 and 3 of the
Indictment, said term to be served consecutively to any state prison term presently being served for parole revocation in
Case Nos. A650055, A652949 and TA030898, but concurrently with the state prison term presently being served in Case
No, TA055256.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of five (5) years
under the following terms and conditions:

l, The defendant shall comply with the rules and regulations of the U.S. Probation Office and General Order
318;

2. The defendant shall participate in outpatient substance abuse treatment and submit to drug and alcohol
testing, as instructed by the Probation Officer. The defendant shall abstain from using illicit drugs,
alcohol, and abusing prescription medications during the period of supervision; cb

3, If deemed necessary by the Probation Officer, the defendant shall reside at and participate j idential
drug treatment program approved by the U. S. Probation Office for treaff :

drug eee which may include counseling and testing, to determi

  
  

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ase 2:00-cr-01220-SVW Document 55 Filed 05/08/01 Page 2o0f4 Page ID#2
Ue aBtal - ‘STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

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While the defendant is on probation or supervised release pursuant to this judgment:

1. The defendant shall not commit another Federal, state or 10. the defendant shall not associate with any persons
local crime; engaged in criminal activity, and shall not associate with
any person convicted of a felony unless granted permission
2, the defendant shall not leave the judicial district without the to do so by the probation officer,

written permission of the court or probation officer... .
17. the defendant shalt permit a probation officer to visit him or
3. the defendant shall report to the probation officer as * . her at any time at home or elsewhere and shall permit
directed by the court or probation officer and shall submit a Confiscation of any contraband observed in plain view by
truthful and complete written report within the first five days the probation officer;
of each month;

12. the defendant shall notify the probation officer within 72

4. the defendant shall answer truthfully all inquiries by the hours of being arrested or questioned by a law enforcement
probation officer and follow the instructions of the probation officer;
officer;

13. the defendant shall not enter into any agreement to act as

5. the defendant shall support his or her dependants and meet an informer or a special agent of a law enforcement agency
other family responsibilities; without the permission of the court;

6. the defendant shall work regularly at a lawful occupation 14. as directed by the probation officer, the defendant shall
unless excused by the probation officer for schooling, notify third parties of risks that may be occasioned by the
training, or other acceptable reasons; defendant's criminal record or personal history or

characteristics, and shall permit the probation officer to

7. the defendant shall notify the probation officer within 72 make such notifications and to conform the defendant's
hours of any change in residence or employment; compliance with such notification requirement;

8. the defendant shall refrain from excessive use of alcohol 15. the defendant shall not possess a firearm or other
and shall not purchase, possess, use, distribute, or dangerous weapon;
administer any narcotic or other controlled substance, or
any paraphernalia related to such substances, except as 16. the defendant shall, upon release from any period of
prescribed by a physician; custody, report to the probation officer within 72 hours.

9. the defendant shall not frequent places where controlled
substances are illegally sold, used, disiributed or
administered;
These conditions are in addition to any other conditions imposed by this Judgment.
RETURN
| have executed the within Judgment and Commitment as follows:

Defendant delivered on to

Defendant noted on appeal on

 

Defendant released on

 

Mandate issued on

 

Defendant's appeal determined on

 

 

 

Defendant delivered on to
at _ the institution designated
by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.
UNITED STATES MARSHAL
DATED: BY:

 

 

CERTIFICATE

| hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file In my office, and in
my legal custody.

CLERK, U.S. DISTRICT COURT

DATED: #3,.77 ! BY:

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Pep ctr MUL] JUDGMENT AND PROBATION/COMMITMENT ORDER

 

 

 
 

 

Case 2:00-cr-01220-SVW DOGURED Stites HSH ePOR RE Page 30f4 Page ID#:3

Central District of California

 

 

 

 

 

UNITED STATES OF AMERICA Docket No. CR-00-1220-SVW
vs
Defendant Glenn Owens DATE: May 7, 2001 bi}
| JUDGMENT AND PROBATION/COMMITMENT ORDER

 

 

continued from page 1

4. The defendant shall notify the Court, through the Probation Office, of any material change in the
defendant's economic circumstances that might affect the defendant's ability to pay restitution, fines, or

special assessments;

5. The defendant shall not obtain or possess any driver's license, Social Security number, birth certificate,
passport or any other form of identification without the prior written approval of the Probation Officer;
further, the defendant shall not use, for any purpose or in any manner, any name other than his true legal

name;

FINE; Pursuant to Section 5E1.2(e) of the Guidelines, all fines are waived as it is found that such sanction would place
an undue burden on the defendant’s dependents.

SPECIAL ASSESSMENT: It is ordered that the defendant shall pay to the United States a special assessment of $200,
which is due immediately.

Defendant is informed of his right to appeal.

The Court recommends designation to an institution in the Southern California area.

In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
Supervised Release set out on the reverse side of this judgment be imposed. The Court may change the conditions of supervision, reduce

or extend the period of supervision, and at any time during thest ervision pe or within the maximum period permitted by !aw, may
issue a warrant and revoke supervision for a violatio cus ng’during t ision period.
Signed by: District Judge _- - Ye EAAAY /,

// Stephen V. Wilson

It is ordered that the Clerk deliver a certified copy of this Judgment and » C smtammman Order to the U.S. Marshal or other qualified
officer.

Sherri R. Carter, Clerk

Dated/Filed S- G-9 f By

    

Stephén Montes, Deputy Clerk

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UNITED STATES MARSHAL
DATED: BY:
CERTIFICATE

| hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in
my legal custody.

CLERK, U.S. DISTRICT COURT

DATED: BY:

 

JUDGMENT AND PROBATION/COMMITMENT ORDER

       

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